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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

                        Case No. 8:20-cv-00676-MSS-CPT

    STRIKE 3 HOLDINGS, LLC, a limited
    liability company,

          Plaintiff/Counter-Defendant,

    v.

    JOHN DOE infringer assigned IP address
    47.197.99.186, an individual,

          Defendant/Counter-Plaintiff.

                                               /

          PLAINTIFF’S/COUNTER-DEFENDANT’S TRIAL BRIEF

          Pursuant to this Court’s Third Amended Case Management and

    Scheduling Order [DE 86], Plaintiff/Counter-Defendant, Strike 3 Holdings,

    LLC (“Strike 3” or “Plaintiff”), hereby files the following Trial Brief.

    I.    INTRODUCTION

          John Doe (“Defendant”) infringed Strike 3’s copyrights when he

    downloaded and uploaded copies of its movies over the BitTorrent network.

    Strike 3 has both direct and circumstantial evidence of the infringement. First,

    its forensic software, VXN Scan, recorded evidence of Defendant’s IP address

    (47.197.99.186) connecting with the BitTorrent network and exchanging
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    Plaintiff’s works with others in that network. Moreover, that evidence shows

    that, of the thirty-six works at issue, Defendant possessed 100% of thirty-three

    of them, and at least 39%, 77%, and 86% of the remaining three. Plaintiff’s

    expert witnesses will assist the trier of fact in understanding these technical

    issues, while Defendant’s will fail.

          Second, Plaintiff has strong, unrebutted circumstantial evidence linking

    Defendant to the infringement. VXN Scan also records what Strike 3 calls

    “Additional Evidence,” which is a list of third-party works, including books,

    movies, and music, an IP address downloads over the BitTorrent network.

    Many of the files downloaded by IP address 47.197.99.186 correspond to

    Defendant’s interests, hobbies, and career. This implicates Defendant in

    downloading the works in the Additional Evidence, and thus, in Strike 3’s

    works as well. Although Defendant denies liability, he does not deny these

    connections.

          Additionally, Defendant’s conduct during this litigation evinces his

    liability. He appears to have used a virtual private network (“VPN”) to

    continue downloading Strike 3’s works during the litigation, which he has not

    denied. Defendant also reinstalled the operating system on one of his

    computers while allowing another computer to automatically overwrite data.


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    This destroyed data on those devices. He also withheld two other computer

    devices. These are not the actions of an innocent party. A jury will be able to

    infer a great deal of guilt from the many discovery violations committed by

    John Doe throughout the case.

          This evidence shows that Defendant more likely than not infringed

    Strike 3’s copyrights. His denials are unsupported, and his defenses are

    speculative at best. By contrast, Strike 3’s evidence is largely unrefuted and

    backed by sound methodologies and expert testimony. Once Strike 3’s case is

    presented, the jury will have no alternative but to find in Plaintiff’s favor.

    II.   FACTUAL BACKGROUND

          A.     BitTorrent Piracy of Strike 3’s Works Causes Untold Losses

          It is useful for the Court to understand the factual context for what

    Strike 3 will present at trial. Strike 3 owns the intellectual property in award-

    winning adult motion pictures. [DE 114-1]. It makes those works available

    through its websites to subscribing customers, as well as on DVD and video-

    on-demand platforms. See [DE 11-1] at ¶¶13–22. What makes its movies so

    unique, acclaimed, and popular is their quality: its directors, filmography, and

    even marketing have all received accolades. Id. at ¶23.




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          This comes at a price, however. The production budget for each film is

    significantly higher than that of the typical studio. See id. at ¶¶16, 19. Like

    any entertainment company, its movies are its lifeblood. Any piracy of those

    movies represents a direct threat to the company’s sustainability and growth.

          That threat is amplified by infringement over the BitTorrent network.

    BitTorrent does not require usernames or for the individual to identify

    themselves in anyway; the only identification broadcast is an IP address. The

    BitTorrent protocol breaks files down into “pieces” where multiple users

    “seed” those pieces to other “peers” in the network. This allows for a relatively

    fast download of large files, such as movies.

          Significantly, BitTorrent can only operate efficiently if many peers are

    seeding the requested files to other peers (hence the moniker “peer-to-peer

    network”). Thus, BitTorrent’s default operation makes anyone with a “piece”

    of a file upload that piece to other members in the network. Anyone who

    downloads a “piece” of a file (even if that file is not yet complete)

    automatically uploads that “piece” to others. In copyrights’ parlance, these

    actions constitute “reproductions” and “distributions” of copies of the work.

    See 17 U.S.C. § 106(1), (3).




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           The matter began the same as all BitTorrent matters: with an IP address.

    An IP address (“Internet Protocol” address), as the name implies, is a string

    of numbers used to identify and route an account to websites and networks. It

    does not identify the user, the user’s location, or what devices the user used to

    access the Internet. That does not, however render all online infringers

    completely anonymous; with the aid of an “early” subpoena and some basic

    investigating, the user can be identified. That is what happened here.

           Plaintiff observed that IP address 47.197.99.186 had used the

    BitTorrent protocol to download and distribute at least thirty-six of Strike 3’s

    copyrighted motion pictures. See [DE 17-1]. More specifically, Strike 3’s

    propriety software, VXN Scan, observed, recorded, and stored data showing

    IP address 47.197.99.186 infringing the copyrights.

           B.    VXN Scan Is a Robust and Reliable Program

           VXN Scan’s two major functions are to (1) seek out and log infringing

    copies of Strike 3’s movies and (2) record and store that data in a forensically

    sound manner.1 To start, the “Torrent Collector” component searches well-


       1
         The summary of VXN Scan’s functionality is derived from David
    Williamson’s Declaration in Support of Plaintiff’s Motion for Leave to Serve
    a Third Party Subpoena Prior to a Rule 26(f) Conference [DE 11-1] since it is
    the most succinct encapsulation of the technology. VXN Scan is also

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    known BitTorrent websites for .torrents–files used to download materials over

    the BitTorrent network–of Strike 3’s works. [DE 11-1] at ¶44. Then a separate

    component downloads the .torrent files that match Strike 3’s works as well as

    “a full copy of th[at] targeted computer file[.]” Id. at ¶47 (emphasis added).

    After the file has been confirmed as one of Strike 3’s movies, see id. at ¶¶48–

    49, the “Proprietary Client” then seeks out peers uploading that file to the

    BitTorrent network, connects to those peers, and then “download[s] a piece or

    multiple pieces of the infringing computer file from other computers

    connected to the Internet through IP addresses[.]” Id. at ¶¶ 53–54. “In this

    way, the Proprietary Client emulates the behavior of a standard BitTorrent

    client.” Id. at ¶ 55.

           With this groundwork, VXN Scan is then able to record and store data

    from these infringements. The “Capture Card,” which records network

    transactions “in real-time,” is “connected to the Proprietary Client’s network,”

    i.e., to the part of VXN Scan that downloads Strike 3’s files from peers in the




    described in other materials throughout the record, including both of Mr.
    Williamson’s depositions, Mr. Williamson’s Expert Report [DE111-1],
    Patrick Paige’s deposition, as well as Mr. Paige’s Expert Report [111-2] and
    Supplemental Expert Report [DE 114-9].
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    BitTorrent network. See id. at ¶¶ 63, 65. That data is recorded as a Packet

    Capture file (“PCAP”). Id. at ¶¶ 58–59.

           The PCAP records important data about the transaction, including the

    IP address, “the date and time of the network transaction,” port number, the

    Info Hash value of the file, and the BitTorrent client. Id. at ¶¶ 60–61. It also

    records the “BitField” value. [DE 114-2] at ¶31. A BitField relays what

    percent of a requested file that peer uploading that file has available to seed to

    other peers. Id. A BitField value of 100% means that a peer has a complete

    copy of a file. Id. Significantly, of the thirty-six works at issue, the PCAPs

    showed that IP address 47.197.99.186 had BitField values of 100% for thirty-

    three of the movies, while the remaining three had values of 39%, 77%, and

    and 86%. Id. at ¶33.

           After a PCAP is recorded, it is streamed and stored to an Amazon

    server. [DE 11-1] at ¶66. Finally, the “PCAP Analyzer” inspects the PCAPs

    and “verifies that each retrieved data piece is a part of the .torrent related file,”

    and organizes that data on a table.2 Id. at ¶74.




       2
          Nothing in BitTorrent’s or VXN Scan’s architectures requires an
    infringer to be at home or even in front of their computer for the BitTorrent
    protocol to exchange files or for VXN Scan to track and record that exchange.
                                             7
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          VXN Scan also records evidence of BitTorrent downloads of third-

    party works. [DE 111-1] at ¶82 (describing Cross-Reference Tool). Strike 3

    calls this its “Additional Evidence.” This function records and logs

    information about other files an IP address is downloading from the

    BitTorrent network, including “dates, hash values, and file names

    corresponding to the torrent-files.” See id. at ¶84. Strike 3 uses this

    information to help determine who the infringer is and what evidence to look

    for during discovery. Infra. This is the evidence Strike 3 has before it even

    contemplates litigation.

          VXN Scan was tested multiple times during its development and before

    its launch. See Williamson Depo. (Dec. 20, 2021), at 76:21–77:13; 80:18–

    81:1; 93:2–7. Another forensic expert, Patrick Paige, also tested VXN Scan at

    a later date, and found that it tracked and recorded accurate data about the

    BitTorrent activity. [DE 114-9] at ¶¶33–60. Defendant elected not to inspect

    VXN Scan or even request the PCAPs during discovery. See [DE 59-2]. Strike

    3, nevertheless, sua sponte produced all relevant 137 PCAPs. See [DE 138-

    10]. Still, Defendant continues to bury his head in the sand on the accuracy of

    VXN Scan and its data. [DE 115] at 2–5. But baseless speculation cannot, and

    does not, carry his burden.


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          C.      Prelude to Spoliation and Abundant Additional Evidence
                  Pointing to John Doe
          A great deal of the procedural history in this case actually supports

    Strike 3’s case for copyright infringement because it reveals actions on John

    Doe’s part that evince guilt. This case originated in state court as a request for

    a pure bill of discovery. Strike 3 Holdings, LLC v. Unknown Infringer’s

    Identified on Exhibit “1”, No. 2019-032122-CC-05, Dkt. No. 1 (Fla. Miami-

    Dade County Ct. Dec. 4, 2019) [hereinafter referred to as “B.D.”]. The court

    allowed Plaintiff to serve a subpoena on Defendant’s Internet service provider

    (“ISP”), Frontier Communications (“Frontier”), on January 16. See B.D. at

    Dkt. No. 5.

          Frontier notified Defendant about the subpoena on or around January

    22. [DE 101-3]. Defendant, through counsel, filed a motion requesting Strike

    3 litigate its case in federal court. See B.D. at Dkt. No. 9. As a result, and to

    avoid undue delay, Strike 3 decided to “drop” Defendant from the pure bill of

    discovery, and file a claim for copyright infringement in federal court.

          Prior to dropping Defendant, Strike 3 sent Defendant’s counsel notice

    of its intent to file a complaint in federal court along with a “NOTICE OF

    DUTY TO PRESERVE EVIDENCE.” [DE 89-2]. That notice explicitly

    instructed Defendant to “immediately identify and modify or suspend features

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     of its information systems and devices in routine operation operate to cause

     the loss of potentially relevant ESI.” Id. Strike 3 emailed counsel the letter

     and notice on February 6 at 11:48 AM, [DE 110-4], and filed its Notice of

     Dropping Party at 11:51 AM that same day. See B.D. at Dkt. No. 10.

            Strike 3 filed its Complaint for copyright infringement–still unaware of

     the subscriber’s identity–on March 24. Strike 3 filed its motion for early

     discovery on May 28. Judge Tuite granted the motion. [DE 12].

            Strike 3 served a second subpoena on Frontier requesting the

     Defendant’s true name and address on June 19. [DE 110-5]. Not long after,

     Defendant received notice (again) about the pending subpoena from Frontier,

     and retained new counsel, Steven Vondran, soon thereafter. On July 3, Mr.

     Vondran emailed Strike 3:

            On this case, my client is well versed in computers and the type
            who would easily know how to use a VPN. He denies any
            wrongdoing and is willing to provide a declaration and search of
            his hard drive.3
        3
          Defendant has also mischaracterized the substance of the exchange before
     the Court. For example, the proposition that, “Strike 3 failed to tell the Court,
     in their moving papers, that Strike 3’s counsel expressly rejected the offer by
     John Doe’s counsel to produce copies of the hard drives in July 2020.” [DE
     94] at 18, is false. Defendant’s never offered to produce the hard drives, but
     rather, to “search” them. During fulsome discovery, Defendant fought Strike
     3 at every turn to even produce basic data from those hard drives. Strike 3 was
     prudent in not accepting Defendant’s “search” results as it would later
     discover that Defendant spoliated these hard drives.
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     [DE 94-3] (emphasis added). Counsel for Strike 3 responded, in part, “As to

     testimonial evidence and hard drive imaging, this will be requested should we

     get into discovery.” Id. (emphasis added).

            Defendant ultimately did not challenge the second subpoena, and Strike

     3 received his name and address on August 4, 2020. A third subpoena to

     Frontier (issued later in the litigation) would confirm that Defendant was

     assigned IP address 47.197.99.186 from August 8, 2019 00:48:35 GMT to

     December 16, 2019 21:48:02 GMT. [115-6]; see also [DE 138-6]. Frontier

     was unable to produce any information on either Defendant or IP address

     47.197.99.186 prior to August 8, 2019, likely due to its policy to only retain

     records on its subscribers for a limited period of time.

            Despite the absence of logs from earlier dates,4 all the evidence

     indicates that Defendant was subscribed IP address 47.197.99.186 before

     August 8, 2019. Defendant has conceded that Frontier was his ISP for “the

     entire period.” See [DE 110-1] at 61:24–62:7. And the exact same version of

     the exact same BitTorrent client was used to infringe Plaintiff’s motion



        4
          Direct evidence of what IP address Defendant used during the earlier
     period may have been contained on system log files or router, but those were
     not preserved. See [DE 110]; see also [DE 138-7] at ¶¶8–9.
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     pictures prior to and after August 8. [DE 138-7] at ¶10. Additionally, Plaintiff

     can demonstrate Defendant’s BitTorrent client was infringing the exact same

     files before and after the above date, making the probability of it being a

     random user virtually impossible.

           Strike 3 does not reflexively prosecute subscribers. Rather, it uses the

     subscriber’s information to further investigate which individual with access

     to the IP address infringed its copyrights. Here, Strike 3 uncovered substantial

     connections linking Defendant specifically to the infringement. It would

     uncover and confirm even more as litigation progressed. These include:


        1. Defendant listed “VPN” under industry knowledge on his LinkedIn
           profile. Plaintiff’s Additional Evidence shows Defendant’s IP address
           downloading the following files:

               a.   Avira Phantom VPN Pro 569 27075 Final Incl Crack;
               b.   CyberGhost VPN 9803188 Crack;
               c.   Express Vpn 8 63 Key only 2018;
               d.   Hotspot Shield VPN;
               e.   Hotspot Shield VPN Elite 113624 Multilingual Patch;
               f.   Hotspot Shield VPN Elite 92415 Patch Keygen;
               g.   VPN 365 Free Unlimited VPN Proxy WiFi VPN v1 2 6 Mod
                    AdFree;
               h.   Easy VPN v3.0.OSX Mac OS;
               i.   Hide My IP 12.4.241 Multilingual Premium VPN + Key;
               j.   HMA! Pro VPN 3.2b for Windows (Vista 7 8.1 10);
               k.   Hotspot Shield VPN Elite 10.29.13 Multilingual + Patch;
               l.   IPVanish VPN 11.8.8 Full Version &10days Free With Cracked;
                    and


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              m. IPVanish VPN 11.8.8 Full Version &amp;10days Free With
                 Cracked.

        2. Defendant listed “VMware” and “VMware ESX" under “Tools &
           Technologies” on his LinkedIn profile. Plaintiff’s Additional Evidence
           lists:

              a.   VMware Workstation 1210 Build 2305331 Final Incl;
              b.   VMware Workstation v1400 FULL Serials [TechTools];
              c.   VMware Workstation Pro 12.1.1 Build 3770994 + Keys; and
              d.   Mac OS X 112 Mavericks for ESXI.

        3. Defendant’s LinkedIn identified him as a “Network Infrastructure
           Engineer.” Plaintiff’s Additional Evidence lists:

              a. VisualRoutev81d Professional CrackFiSKPiNNE;
              b. serverscheckmonitoringsoftware8 0 5 exe; and
              c. MATLAB R2018 a [PC] [x64] with Serial Crack.

        4. Defendant is a Star Wars fan. Plaintiff’s Additional Evidence lists:

              a. [PsP - CsO] Lego Star Wars [Motionxcitystx] .cso;
              b. Star      Wars        The      Rise       of      Skywalker
                 2019BRRipXviDAC3EVO[EtMovies]torrent;
              c. Rogue One A Star Wars Story 2016 BRRipXviDAC3EVO; and
              d. Star Wars Rogue One Adaptation 02 of 06 2017 3 covers digital
                 MinutemenMidascbr.

        5. Defendant is a World of Warcraft fan. And Plaintiff’s Additional
           Evidence lists:

              a. World of Warcraft Client - Version 1.12.1 enUS – Windows.

        6. Defendant is a Seth McFarlane fan. Plaintiff’s Additional Evidence
           lists:

              a. Download Family Guy S16E18 2018 HDTV x264                LEGi0N
                 torrent; and
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                b. Family Guy S16E18 2018 HDTV x264 – CM.
                c. TheOrvilleS01E061080pWEBx264TBS [rarbg]

        7. Defendant is a fan of the videogame Diablo. Plaintiff’s Additional
           Evidence lists:

                a. Diablo 3 With Lord of Destruction (v1.21c) (Direct Play)

        8. Defendant has stated in his deposition that he is certified in “ethical
           hacking.” Plaintiff's Additional Evidence lists:

                a. Learn Ethical Hacking using Kali Linux Full Course.

     See [DE 114-4] at ¶6.

           Strike 3 filed its First Amended Complaint (“FAC”) on August 31,

     2020. [DE 17]. The FAC maintained the same claim for copyright

     infringement in the thirty-six works but amended the pleadings to make clear

     that Defendant was the infringer. Defendant answered the Complaint on

     November 12 and counterclaim for “declaratory judgment of non-

     infringement.” [DE 23]. The only injury-in-fact Defendant alleged in his

     counterclaim was that he “has incurred costs, fees, and expenses in connection

     with its Defense.” Id. at ¶6. Defendant also raised nine separate affirmative

     defenses. Infra. Strike 3 answered the counterclaim, asserting affirmative

     defenses of its own, and the matter proceeded into discovery. [DE 24].

           D.      Defendant’s Obstruction of Discovery Credibly Supports
                   Strike 3’s Case for Infringement


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                  1.     Defendant Confessed to Spoliation

           Defendant, a supposed expert in forensic computer searches, deleted

     evidence from the hard drives he produced and withheld others. He has

     admitted to this and it will be introduced at trial. Additionally, two of

     Defendant’s attorneys submitted retainer agreements with Defendant

     demonstrating a plan for Defendant to profit off of the litigation. Indeed, the

     agreement between the attorneys and Defendant was that they would submit

     to the Court bills for attorneys’ fees with a rate higher than what they actually

     charged Defendant, and then, if the Court awarded fees, would split the

     difference with Defendant. [DE 53-1]; [DE 53-2]. That is, Defendant stood to

     not just recover his attorneys’ fees but to profit from them. [DE 138-11]. This,

     too, is evidence supporting guilt.

                  2.     Defendant Used an Undisclosed VPN

           Defendant is a user of a Virtual Private Network (“VPN”). A VPN

     masks a user’s IP address. Defendant did not provide this information in

     response to direct discovery requests. Instead, Plaintiff learned through

     Defendant’s Twitter account information that Defendant had used several

     different IP addresses to login. [DE 114-4] at ¶8. At least one of these




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     addresses, 146.70.38.84, traced to an undisclosed VPN service, Private

     Internet Access (“PIA”). Id. at ¶10–13.

           Plaintiff searched that IP address in its Additional Evidence database

     and discovered evidence of additional BitTorrent infringement from August

     12, 2021 to December 8, 2021, during the pendency of this litigation. Id. at

     ¶10. In fact, Plaintiff’s Additional Evidence shows that IP address

     146.70.38.84 infringed even more of Strike 3’s works. Id. at 11. It also shows

     that IP address 146.70.38.84 also downloaded files for Minecraft,

     Borderlands, and Spotify, which are present on on Defendant’s PlayStation.

     [DE 114-7].

           On December 9, 2021, the day Plaintiff notified Defendant of its intent

     to serve a subpoena on PIA, the infringement stopped and has not resumed.

     [DE 114-4] at ¶13. Confronted with this evidence, Defendant testified that he

     did maintain an account with PIA and that he terminated it the same day he

     received notice of the subpoena on PIA, and the same day the infringement

     stopped. [DE 114-6] at 92:5–92:19. He also conceding to using VPNs, [DE

     114-6] at 92:8–92:19, not just at work, [DE 110-1] at 188:9–16, but at home,

     id. at 188:21–188:23, and on his “disclosed computer devices.” Id. at 189:11–

     189:13. Defendant’s protestations that have so far been filed, and which are


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     expected to be made at trial, are not credible from either a substantive or

     technical standpoint. No jury is going to believe him, especially in the face of

     so many actions designed to hide his devices, his downloads, and to otherwise

     stymie discovery in this case.

                  3.     Defendant Withheld the Existence of Various Hard
                         Drives and Data from Those Devices

           For example, rolling production and supplementation of computer

     devices–some after discovery and others not at all–further detracted from the

     merits of any John Doe defense. Defendant initially only disclosed an

     ASROCK DeskMini 110W desktop computer (“Desktop”) and a Lenovo

     X320 laptop computer (“Laptop”), along with an iPad, iPhone, PlayStation 4,

     and Xbox 360. See [DE 38] at n.2. Months later, during his deposition,

     Defendant also revealed that he had ten previously undisclosed external

     drives. He supplemented his discovery responses to include those devices.

     Strike 3 was therefore unable to ask him questions about these devices in any

     informed way at John Doe’s fact deposition.

           But it was only after Strike 3 was finally able to review Defendant’s

     system log files–which had to essentially be compelled by Judge Tuite after

     an all day hearing–that it leaned of two hard drives that had not been disclosed.

     See [DE 89]; [DE 110] (recounting investigation). First, Plaintiff’s expert
                                            17
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     uncovered another device that had accessed a file partially titled, “American-

     Pornstar.18.12.19.Gina.Gerson.XXX.SD.MP4-KLEENEX.” [DE 89-11] at

     ¶¶22–24. Not only did this file mirror a file downloaded from BitTorrent,5 but

     it indicated that Defendant had another undisclosed device. See id. at ¶23.

     After Strike 3 brought this to the Court’s attention, Defendant conceded the

     existence of the missing device, and claimed he disposed of it to a relative.

     See [DE 94-8] at ¶¶6–7. There is no evidence to support this claim. In fact,

     Defendant failed to disclose the identity of any relatives or this device in his

     Interrogatory responses despite being compelled by the Court to provide more

     complete answers. See [DE 47]; [DE 156-3] (Ex. 391, John Doe’s “Amended

     Contacts” (Amended JAD076)). This will all come out at trial.

            Defendant also later revealed an undisclosed device within his

     possession: an ADATA hard drive. Indeed, after both Defendant’s expert,

     Michael Yasumoto, and Defendant himself, testified that there were only two

     hard drives, Defendant admitted in his June 15, 2022 deposition that another

     device existed and that he had not supplemented his discovery. [DE 102-1].



        5
          “KLEENEX,” for example, is a popular entity on BitTorrent websites
     that uploads infringing pornographic works. One can even search
     “KLEENEX” as a tag on those websites to find files it has uploaded.


                                           18
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     When he finally supplemented his discovery just days before the dispositive

     motion deadline, the data provided was in non-native format and unreadable.

     [DE 138-7] at ¶¶6–7. Presented to a jury, this information will tend to show

     John Doe’s guilt.

                  4.     Defendant Spoliated At Least Two of His Hard Drives

            Defendant deleted evidence from the two hard drives he initially

     admitted to owning – his Laptop and Desktop computers. In an unproduced

     email with Defendant’s expert, Joel Brillhart, Mr. Edmondson cautioned that

     “If we find video files and/or torrent files [when examining Defendant’s hard

     drives], then that would be good to know. [Defendant’s hard drives] may not

     be so clean.” See Brillhart Depo. at 89:11–14 (emphasis added). That same

     day, July 19, 2022, Mr. Brillhart produced for the first time an email showing

     thousands of undisclosed search results for the word “torrent” on one of

     Defendant’s hard drives.6 See [DE 112-2]. Defendant has since conceded that

     he destroyed data on his hard drive.

            Defendant admitted that on June 1, 2020, just four days after Strike 3

     emailed Mr. Simon to confer about the federal litigation, that he reinstalled



        6
         The results listed in that email were apparently Google searches were
     from July 8, 2020. See [DE 112-2].
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     the operating system on his Laptop. [DE 125-3] at ¶1. This indisputably

     “deletes and/or overwrites critical data previously stored on the hard drive.”

     [DE 89-11], at ¶11. He also conceded that he failed to prevent his Desktop

     from automatically updating (and deleting evidence) even though this

     occurred after he filed his counterclaim. [DE 94-8] at ¶¶13–14. Defendant has

     consequently destroyed direct evidence on his Laptop and Desktop

     computers. See [DE 110]. Juries do not usually condone this kind of behavior

     because they know they would not be able to escape the consequences as John

     Doe now attempts to do.

           Defendant continued to destroy evidence throughout discovery. He

     routinely used his Laptop and Desktop computers after they were preserved,

     altering and overwriting data. See [DE 110-2] at 30:5–30:12, 47:21–48:1. This

     may not have been as big a problem had Defendant searched his preserved

     hard drives, but he did not. Instead, each time he was charged with searching

     his hard drives with “string searches” he created new copies of his

     unpreserved hard drives, searched those copies, and then deleted them. See

     [DE 110-1] at 60:1–62:10. This wheel of destruction and regeneration of

     unpreserved data further destroyed data and degraded the validity of the

     search results.


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           Take, for example, the basic string search for the word “torrent.” As

     Mr. Paige explained after his review of the system log files, there existed

     multiple results for the search of “torrent” that were never produced, see [DE

     89-11] at ¶¶26–28, which Defendant does not deny. See [DE 94-8] at ¶9.

     Defendant also notes that his “search returned many files, all of which were

     irrelevant,” id., but is vague if any were withheld. As Mr. Brillhart’s email

     would indicate, [DE 112-2], at least the preserved hard drives contained

     thousands of results for “torrent” that would have been responsive, relevant,

     and proportional. It remains unclear, however, if Defendant destroyed this

     data prior to his searches or if he simply withheld them from Strike 3. But

     their existence is undisputed.

           As a result of Defendant’s destruction of evidence, Strike 3 is forced to

     rely on a universe of circumstantial evidence that is not complete. But

     copyright infringement is often proved with less, and this circumstantial

     evidence is largely undisputed. John Doe has no other theory, plausible or

     otherwise, to present the jury to explain the facts. None of Defendant’s experts

     have shown the VXN Scan is unreliable or malfunctioned in this case. There

     is nothing to dispute Strike 3’s PCAP evidence. There is nothing to dispute

     the BitField values or their significance. There is nothing to dispute Plaintiff’s


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     Additional Evidence. There is nothing to dispute the fact that spoliated two of

     his hard drives. Quite the opposite: Defendant conceded his failure to preserve

     and he will have to do so at trial. Defendant infringed thirty-six of Strike 3’s

     copyrights. Neither his counterclaim, affirmative defenses, nor discovery

     abuses can alter that conclusion.

     III.   LEGAL OVERVIEW

            The parties bear different burdens on their competing claims. Strike 3

     must persuade and prove that Defendant infringed its copyrights. And while

     the parties stipulate that Defendant must prove standing for his counterclaim,

     see [DE 149] at 15, they disagree whether he must also prove “non-

     infringement” to prevail on his counterclaim for declaratory relief. In any

     event, “[t]o establish [copyright] infringement, two elements must be proven:

     (1) ownership of a valid copyright, and (2) copying of constituent elements of

     the work that are original.” Feist Publications, Inc. v. Rural Tel. Serv. Co.,

     499 U.S. 340, 111 S. Ct. 1282, 1296, 113 L. Ed. 2d 358 (1991) (citation

     omitted).

     IV.    KEY ISSUES FOR TRIAL
            A.    Plaintiff has the Burden of Proof by Preponderance of the
                  Evidence



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           Plaintiff need only prove its claims by a preponderance of the evidence.

     See Tingley Sys., Inc. v. HealthLink, Inc., 509 F. Supp. 2d 1209, 1217 (M.D.

     Fla. 2007). “The ‘preponderance of the evidence’ standard is customary in

     civil actions, and in copyright infringement litigation.” Greenberg v. Nat'l

     Geographic Soc’y, No. 97-3924, 2005 WL 8156229, at *4 (S.D. Fla. Oct. 3,

     2005). “Proving something by a ‘preponderance of the evidence’ means ‘an

     amount of evidence that is enough to persuade [the jury] that the Plaintiff's

     claim is more likely true than not true.’” Weathers v. Lanier, 280 F. App'x

     831, 833 (11th Cir. 2008). Affirmative defenses are also decided based on a

     preponderance of the evidence standard, see Tingley, 509 F. Supp. 2d at 1218,

     as is Defendant’s counterclaim for declaratory relief of non-infringement. Cf.

     Sandoz Inc. v. Amgen Inc., 773 F.3d 1274, 1281 (Fed. Cir. 2014).

           B.     Plaintiff is the Owner of Original Motion Pictures

                  1.    Plaintiff Timely Registered its Copyrights

           Plaintiff will introduce into evidence Certificates of Registration issued

     by the United States Copyright Office for each of the works-in-suit, which

     constitute “prima facie evidence of the validity of the copyright and of the

     facts stated in the certificate.” 17 U.S.C. § 410(c); see Fourth Estate Pub.

     Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 886–87 (2019). Those


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     certificates show that Strike 3 is the proper claimant. See Strober v. Harris,

     No. 20-2663 (MSS)(JSS), 2021 WL 7629457, at *2 (M.D. Fla. Nov. 23,

     2021).

              “As a condition of such enforcement . . . the Act generally requires that

     copyright holders of United States works register those works before bringing

     an infringement action.” Dish Network L.L.C. v. Fraifer, No. 16-2549-T-

     60CPT, 2020 WL 1515938, at *9 (M.D. Fla. Jan. 31, 2020) (citing 17 U.S.C.

     § 411). “In any judicial proceedings the certificate of a registration made

     before or within five years after first publication of the work shall constitute

     prima facie evidence of the validity of the copyright and of the facts stated in

     the certificate.” 17 U.S.C. § 410. Plaintiff’s Certificates of Registration

     contain dates demonstrating each of Plaintiff’s motion pictures were timely

     registered. See [DE 17-1]. Defendant lacks any evidence to rebut this in his

     Exhibit List.

           The Certificates of Registration list Plaintiff, Strike 3 Holdings, LLC as

     the owner of the copyrights. Strike 3 obtained this ownership via transfer from

     its production company VXN Group, LLC who obtained the registrations as

     a work-made-for-hire. “A ‘work made for hire’ is—(1) a work prepared by an

     employee within the scope of his or her employment; or (2) a work specially


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     ordered or commissioned for use as a contribution to a collective work, [or]

     as a part of a motion picture or other audiovisual work . . . if the parties

     expressly agree in a written instrument signed by them that the work shall be

     considered a work made for hire.” Burruss v. Zolciak-Biermann, No. 13-789

     (WSD), 2013 WL 5606667, at *3 (N.D. Ga. Oct. 11, 2013) (citing 17 U.S.C.

     § 101). “The employer or other person for whom the work was prepared is

     considered the author and owns the copyright of a work made for hire, unless

     the parties agree otherwise in writing.” Id.

           Strike 3 has and will provide testimony at trial from its corporate

     representative evidencing that each of the motion pictures were properly

     registered as a work made for hire, including that each of the directors, editors,

     script writers, and other creative contributors to Plaintiff’s films were either

     employees of VXN Group, LLC or agreed in writing as independent

     contractors that the motion pictures would be works-made-for-hire. Strike 3’s

     corporate representative will also provide testimony evidencing proper

     transfer of ownership via assignment agreements. Again, Defendant has not

     produced any evidence to contest the copyrights’ work-made-for-hire status

     or their transfer of ownership.

                  2.     Plaintiff’s Motion Pictures are Original


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           Each motion picture contains unique performers, scripts, locations,

     dialog, plots, sounds, sequence of images, camera angles, wardrobe, and other

     creative elements constituting originality. “The Supreme Court has cautioned

     that it is not difficult to satisfy the originality requirement for purposes of

     copyright protection.” Pohl v. MH Sub I LLC, 770 F. App'x 482, 486–87 (11th

     Cir. 2019) (citing Feist, 499 U.S. at 345). “The requisite level of creativity is

     extremely low; even a slight amount will suffice.’ And ‘[t]he vast majority of

     works make the grade quite easily, as they possess some creative spark, no

     matter how crude, humble or obvious it might be.” Feist, 499 U.S. at 345

     (internal quotation marks omitted). “When considering originality, therefore,

     the court must determine whether the author's creativity is enough to

     overcome a charge of triviality.” Schiffer Publ'g, Ltd. v. Chron. Books, LLC,

     350 F. Supp. 2d 613, 617 (E.D. Pa. 2004).

           Plaintiff’s motion pictures are original. Each one contains countless

     creative decisions by Plaintiff’s production teams. Plaintiff’s corporate

     representative will testify in detail to the creative process behind Plaintiff’s

     motion pictures which employs dozens of people and will satisfy the “creative

     spark” necessary to meet the originality standard. Defendant lacks any

     evidence to rebut this either.


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           But Defendant has proffered an expert who contends that the originality

     in the works is trivial. This misapprehends the nature of copyright law. Indeed,

     just because Plaintiff’s motion pictures contain some overlapping ideas, that

     does not detract from their originality. “Originality does not signify novelty;

     a work may be original even though it closely resembles other works.” Feist,

     499 U.S. at 358.

           Here, “courts long have recognized that photographing a person or

     filming an event involves creative labor.” Baltimore Orioles, Inc. v. Major

     League Baseball Players Ass’n, 805 F.2d 663, 668 (7th Cir. 1986). “The many

     decisions that must be made during the broadcast of a baseball game

     concerning camera angles, types of shots, the use of instant replays and split

     screens, and shot selection similarly supply the creativity required for the

     copyrightability of the telecasts.” Id. “Among other things, [Plaintiff] selected

     the kind of camera (movies, not snapshots), the kind of film (color), the kind

     of lens (telephoto), the area in which the pictures were to be taken, the time

     they were to be taken, and (after testing several sites) the spot on which the

     camera would be operated.” Time Inc. v. Bernard Geis Assocs., 293 F. Supp.

     130, 143 (S.D.N.Y. 1968).




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           Similarly, the many decisions made to create Strike 3’s adult work

     supply the creativity required for copyrightability. Everything from the

     camera, lens, equipment, location, script, and various choregraphed actions of

     the performers contributes to the creative process. It is baffling that John Doe

     has not conceded the originality of the works. Instead, he appears intent on

     wasting the jury’s time by making them watch the 36 works in question to see

     for themselves.

                  3.     The Merger Doctrine and Scenes a Faire Do Not Apply

           The merger doctrine is inapplicable to Plaintiff’s works. “Under the

     merger doctrine, copyright protection is denied to expression that is

     inseparable from, or ‘merged’ with the ideas, processes or discoveries

     underlying the expression.” Liberty Am. Ins. Grp., Inc. v. WestPoint

     Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1290 (M.D. Fla. 2001). “The

     merger doctrine denies copyright protection when creativity merges with

     reality; that is, when there is only one way to express a particular idea.”

     Coquico, Inc. v. Rodriguez-Miranda, 562 F.3d 62, 68 (1st Cir. 2009).

           Defendant attempts to sneak the merger doctrine in with Plaintiff’s

     motion pictures because some (but not all) of the underlying content in the

     motion pictures contains depictions sexual relations between adults. The


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     merger doctrine finds that “expression is not protected in those instances

     where there is only one or so few ways of expressing an idea that protection

     of the expression would effectively accord protection to the idea itself.”

     Thornton v. J Jargon Co., 580 F. Supp. 2d 1261, 1273 (M.D. Fla. 2008).

     Plaintiff is not attempting to assert a copyright in sex any more than

     broadcasters filming sports are attempting to copyright playing soccer or

     baseball. Instead, each of Plaintiff’s motion pictures contain creative

     expressions of depictions of sex. It is the creative expression, not the act itself,

     that is protected by the Copyright Act.

            Moreover, this is not a case where Defendant recreated a movie similar

     to Plaintiff’s motion pictures. Here, Defendant is being accused of direct

     copying of the motion picture wholesale without paying for it. See, e.g., C.B.

     Fleet Co. v. Unico Holdings, Inc., 510 F. Supp. 2d 1078, 1082 (S.D. Fla. 2007)

     (refusing to apply the merger doctrine when the copying is almost identical).

            Likewise, the scenes a faire doctrine does not apply to Plaintiff’s

     motion pictures. “Under the scenes a faire doctrine, copyright protection is

     denied to those expressions that are standard, stock, or common to a particular

     topic or that necessarily follow from a common theme or setting. It also denies

     copyright protection to those elements that have been dictated by external


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     factors, such as hardware standard and mechanical specifications and

     computer industry programming practices.” Liberty Am. Ins. Grp., Inc. v.

     WestPoint Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1290 (M.D. Fla.

     2001). Again, the copyrightability of Plaintiff’s motion pictures stems from

     the creativity involved in capturing expressions of sex and creating a fantasy

     for the viewer. Just as a telecast of a football game is copyrightable because

     of the direction of the cameras and angles captured, Plaintiff’s motion pictures

     are copyrightable because of the creative expression involved in capturing the

     sexual performance by its performers, not to mention the script, dialog, and

     unique scene and background of each motion picture.

           Consideration of the merger doctrine and scenes a faire is unnecessary

     because the original copyrightability of Plaintiff’s motion pictures is obvious

     and will only needlessly increase the time of trial and confuse the jury.

                  4.     Plaintiff’s Motion Pictures are Not Part of a
                         Compilation

           When determining whether a copyrighted work is part of a compilation

     for purposes of 17 U.S.C. § 504(c)(1), the primary “focus[ ] [is] on whether

     the plaintiff—the copyright holder—issued its works separately, or together

     as a unit.” EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79,

     101 (2d Cir. 2016) (quoting Bryant v. Media Right Prods., Inc., 603 F.3d 135,
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     141 (2d Cir. 2010)), cert. denied sub. nom., 137 S. Ct. 2269 (2017). That is

     because the Copyright Act defines a “compilation” as “a work formed by the

     collection and assembling of preexisting materials or of data that are selected,

     coordinated, or arranged in such a way that the resulting work as a whole

     constitutes an original work of authorship.” 17 U.S.C. § 101.

           Plaintiff seeks an award of statutory damages for each work because

     Plaintiff not only registered each work separately, but also issued each work

     separately. See [DE 1-1]; [DE 17-1] (listing date of publication for each work).

     Plaintiff’s works were not issued collectively, that is, arranged in such a way

     to create an original work of authorship like songs on an album.

           Each movie contains its own plot and is first issued separately.

     Plaintiff’s customers may well choose to watch all, some, or may even skip

     around within each movie. Indeed, when considering whether each movie “is,

     in itself, viable,” MCA TV, Ltd. v. Feltner, 89 F.3d 766, 769 (11th Cir. 1996),

     or whether each movie is more like a patchwork whose “value lies in . . . its

     combined assembly into the quilt as a whole,” Sullivan v. Flora, Inc., 936 F.3d

     562, 572 (7th Cir. 2019), it is noteworthy that Defendant sought out and

     downloaded (and then distributed) each work individually. See Kennedy v.

     Gish, Sherwood & Friends, Inc., 143 F. Supp. 3d 898, 915 (E.D. Mo. 2015);


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     Playboy Enterprises Inc. v. Sanfilippo, No. 97-0670-IEG (LSP), 1998 WL

     207856, at *5 (S.D. Cal. Mar. 25, 1998).

                  5.     Considerations of Originality, Merger Doctrine,
                         Scenes a Faire, and Compilation Status are
                         Unnecessary and Will Significantly Delay Trial

           As set forth above, the originality of Plaintiff’s motion pictures is

     obvious. Indeed, Plaintiff knows of no scenario in existence where a motion

     picture was ever found to be “unoriginal,” or impacted by the merger doctrine

     and scenes a faire. Forcing the jury to consider these issues for each of the 36

     motion pictures at issue will add days to the trial. Indeed, it will force the jury

     to review each motion picture, each averaging between thirty and sixty

     minutes, in significant detail. This would amount to over 3 full 8 hour days of

     trial (an unlikely event) just to display the movies—saying nothing of how

     much time it may take the jurors to review them during deliberations. The

     legal concepts behind these doctrines will likely lead to confusion, and the

     sexual nature of the films will potentially distract, cause resentment, and

     prejudice Plaintiff. See Fed. R. Evid. 403. This is exactly why Defendant is

     contesting these issues when no valid basis exists and where the originality is

     otherwise obvious and should be a part of the stipulated facts.

           C.     Defendant Infringed Plaintiff’s Works through BitTorrent


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                  1.    Elements of Infringement

           “To establish infringement, two elements must be proven: (1)

     ownership of a valid copyright, and (2) copying of constituent elements of the

     work that are original.” Feist, 499 U.S. at 358 (citation omitted). “The second

     element can be proven either with direct proof of copying or, if direct proof is

     unavailable, by demonstrating that the defendants had access to the

     copyrighted work and that the works are substantially similar.” Home Design

     Servs., Inc. v. Turner Heritage Homes Inc., 825 F.3d 1314, 1321 (11th Cir.

     2016). Strike 3 will prove both elements at trial by overwhelming evidence.

                  2.    Peer-to-Peer Infringement Using the BitTorrent
                        Protocol is Copyright Infringement

           “[T]he use of P2P [peer-to-peer] systems to download and distribute

     copyrighted music has been held to constitute copyright infringement.” World

     Digital Rts., Inc. v. John Does 1-80, No. 12-225-FTM, 2012 WL 1623871, at

     *2 (M.D. Fla. May 9, 2012) (citing Sony Music Ent. Inc. v. Does 1-40, 326 F.

     Supp. 2d 556, 565 (S.D.N.Y. 2004)). Indeed, numerous Courts have

     recognized that using peer-to-peer file sharing software (including BitTorrent)




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     to obtain copyrighted works is infringement.7


        7
          See, e.g., Malibu Media, LLC v. Bui, 13- 00162 (RJJ), ECF No. 40, at *2–
     3 (W.D. Mich. July 21, 2014) (granting Plaintiff’s Motion for Summary
     Judgment, holding that “using BitTorrent technology, he ultimately winds up
     with . . . unauthorized copies of Plaintiff’s works – copies that did not exist
     until Defendant himself engaged the technology to create new and
     unauthorized copies with a swarm of other users.”); Malibu Media, LLC v.
     John Does 1, 6, 13, 14, 950 F. Supp. 2d 779, 788 (E.D. Pa. 2013) (“Malibu
     has satisfied its burden of proof with substantial evidence and deserves a large
     award[.]”); A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1014 (9th Cir.
     2001), as amended (Apr. 3, 2001), aff'd sub nom. A&M Records, Inc. v.
     Napster, Inc., 284 F.3d 1091 (9th Cir. 2002) and aff'd sub nom. A&M Records,
     Inc. v. Napster, Inc., 284 F.3d 1091 (9th Cir. 2002) (“We agree that plaintiffs
     have shown that Napster users infringe at least two of the copyright holders'
     exclusive rights: the rights of reproduction, § 106(1); and distribution, §
     106(3). Napster users who upload file names to the search index for others to
     copy violate plaintiffs' distribution rights. Napster users who download files
     containing copyrighted music violate plaintiffs' reproduction rights.”); Metro-
     Goldwyn-Mayer Studios Inc. v. Grokster, Ltd. 545 U.S. 913, 125 S.Ct. 2764
     (2005) (holding Grokster liable for contributory infringement because it
     materially aided and induced its users to commit direct infringement via its
     peer-to-peer file sharing service); Sony v. Tennenbaum, 660 F.3d 487 (1st Cir.
     2011) (holding in a twenty-six page opinion that Tennenbaum was liable for
     infringement committed through a peer-to-peer network, that peer-to-peer
     infringement is not “fair use” nor would any other defense shield
     Tennenbaum’s tortious conduct, and that the statutory damages clause set
     forth in the Copyright Act is constitutional); Arista Records, LLC. v. Doe 3,
     604 F.3d 110 (2d Cir. 2010) (denying an individual John Doe Defendant’s
     motion to quash a subpoena issued to an internet service provider in response
     to an allegation that the John Doe Defendant infringed Arista’s copyrights
     through a peer-to-peer file sharing network); In re Charter Communications,
     Inc. Subpoena Enforcement Matter, 393 F.3d 771, 774 (8th Cir. 2005) (opining
     that copyright owners have a right to identify peer-to-peer file sharers through
     a Rule 45 subpoena because those file sharers are infringing the owners’
     copyrights); RIAA v. Verizon Internet Services, Inc., 351 F.3d 1229, 1238

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                  3.     Defendant Used BitTorrent to Infringe Plaintiff’s
                         Exclusive Rights

           The Copyright Act provides certain exclusive rights to a copyright

     holder. See 17 U.S.C. §106. Relevant here, “the owner of copyright under

     this title has the exclusive rights to do and to authorize any of the following:

     (1) to reproduce the copyrighted work in copies or phonorecords; (3) to

     distribute copies or phonorecords of the copyrighted work to the public by

     sale or other transfer of ownership, or by rental, lease, or lending.” Id.

           Using the BitTorrent protocol to obtain copies Plaintiff’s motion

     pictures without Plaintiff’s consent violates Plaintiff’s exclusive rights to

     reproduce and distribute. “Copyright infringement exists where file-sharing

     software and protocols (such as BitTorrent) are used to download works and

     reproduce, distribute, display, or publicly perform works without the

     copyright-holder's permission.” Strike 3 Holdings, LLC. v. Doe, No. 21-1140

     (RDA)(TCB), 2022 WL 3337797, at *4 (E.D. Va. Aug. 4, 2022). “[A]s long

     as the BitTorrent software is running, the file can be uploaded to other

     BitTorrent users automatically. In other words, the BitTorrent user has to



     (D.C. Cir. 2003) (repetitively acknowledging that file sharing is
     infringement); UMG Recording, Inc. v. Alburger, 2009 WL 3152153, *3
     (E.D. PA. 2009) (same).
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     manually choose to download a file while its distribution to other users is

     performed automatically and simultaneously through the BitTorrent

     software.” Malibu Media, LLC v. Roldan, No. 13-3007-T-30TBM, 2015 WL

     556406, at *2 (M.D. Fla. Feb. 10, 2015).

           Copyright holders have the exclusive right to make copies of or
           reproduce their works. [17 U.S.C.] § 106(1). As outlined in detail
           above, the BitTorrent network used by Defendant involves the
           sharing of file “pieces” to recreate and distribute Plaintiff's
           motion pictures. This replication violates Copyright Plaintiffs'
           exclusive rights to reproduce their Works. See [17 U.S.C.] §
           106(1). Copyright holders also possess an exclusive right to
           distribute their works. See [17 U.S.C.] § 106(3). A defendant
           violates a holder's distribution rights when that defendant
           disseminates the work or makes the work generally available to
           the public.

     Strike 3, 2022 WL 3337797 at *5.

           D.     Plaintiff Has Compelling Direct and Circumstantial
                  Evidence Proving Defendant Copied Its Works

           Strike 3 has both direct and circumstantial evidence showing Defendant

     infringed its copyrights, each category reinforcing the other. “The reason for

     treating circumstantial and direct evidence alike is both clear and deep rooted:

     ‘Circumstantial evidence is not only sufficient, but may also be more certain,

     satisfying and persuasive than direct evidence.’” Desert Palace, Inc. v. Costa,

     539 U.S. 90, 100, 123 S. Ct. 2148, 2154, 156 L. Ed. 2d 84 (2003) (quoting



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     Rogers v. Missouri Pacific R. Co., 352 U.S. 500, 508, n. 17, 77 S.Ct. 443, 1

     L.Ed.2d 493 (1957)).

           Specifically, this evidence will be used to show “copying of constituent

     elements of the work that are original.” Feist, 499 U.S. at 111 (citation

     omitted). This “can be proven either with direct proof of copying or, if direct

     proof is unavailable, by demonstrating that the defendants had access to the

     copyrighted work and that the works are substantially similar.” Home Design

     Servs., Inc. v. Turner Heritage Homes Inc., 825 F.3d 1314, 1321 (11th Cir.

     2016). While direct evidence, such as an admission, is obviously probative, it

     is also rare. See Williams v. Gaye, 895 F.3d 1106, 1123 (9th Cir. 2018).

     Accordingly, “copying is usually circumstantially proved[.]” Id.

           The copying prong “comprises two subparts, ‘factual and legal

     copying[.]’” Compulife Software Inc. v. Newman, 959 F.3d 1288, 1301 (11th

     Cir. 2020). Factual copying asks “‘whether the defendant actually used the

     plaintiff's material,’ [and] may be inferred from indirect evidence

     demonstrating that the defendant had access to the copyrighted work and that

     there are probative similarities between the allegedly infringing work and the

     copyrighted work.” Id. (citations omitted). “‘Legal’—or ‘actionable’—

     copying occurs when ‘those elements of the [copyrighted work] that have


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     been copied are protected expression and of such importance to the copied

     work that the appropriation is actionable.’” Id. (citations omitted).

           Even if Plaintiff is unable to show that Defendant accessed the works,

     it may still prove copying circumstantially by showing that the works are

     “strikingly similar.” “Striking similarity exists where the proof of similarity

     in appearance is ‘so striking that the possibilities of independent creation,

     coincidence and prior common source are, as a practical matter, precluded.’”

     Corwin v. Walt Disney Co., 475 F.3d 1239, 1253 (11th Cir. 2007) (citations

     omitted). In any event, Plaintiff must show the a “substantial similarity” in

     the copies, which is “assessed with respect to both the quantitative and the

     qualitative significance of the amount copied to the copyrighted work as a

     whole.” Compulife Software, 959 F.3d at 1301 (citation omitted).

           The PCAPs and videos themselves show “copying.” First, the PCAPs

     show network evidence of Defendant’s IP address exchanging pieces of the

     infringing files with VXN Scan. Supra. This is tangible, undisputed proof that

     Defendant’s IP address had, at a minimum, “access” to the works. Cf. Malibu

     Media, LLC v. Weaver, No. 14-1580-T-33TBM, 2016 WL 1394331, at *5

     (M.D. Fla. Apr. 8, 2016).




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            Second, the PCAPs also evidence “factual copying.” Again, the

     network evidence shows the actual, real-time exchange of pieces of Strike 3’s

     movies from Defendant’s IP address to VXN Scan. That is, Defendant’s IP

     address was not just passively observed infringing the works, but VXN Scan

     recorded and stored the concrete piece that Defendant uploaded. Strike 3

     knows Defendant was the individual behind the IP address because it

     connected him to that IP address and the activity emanating from that IP

     address. Supra at § II.C. Defendant actually “copied” the copyrighted movies.

            Finally, Defendant “legally copied” the movies by downloading and

     distributing substantial (not de minimis) portions of those works. The PCAPs

     recorded not just the piece of the work,8 but its associated Info Hash, [DE 17-

     1] (listing Info Hashes), and BitField value. [DE 114-2] at ¶¶31–33. For

     example, a PCAP evinces that Defendant possessed a movie file from a

     particular Info Hash with a BitField value of 100%, and, on the lower register,

     a different movie file from a different Info Hash with a BitField value of 39%.

     This evidence combines to show that Defendant not only downloaded


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          The piece is also direct evidence itself, but it should not be mistaken (as
     Defendant has argued) that Strike 3’s sole evidence of legally copying. Rather
     these pieces, when properly contextualized with the rest of the evidence,
     circumstantially prove that Defendant copied even more of the file than was
     just contained in the PCAPs.
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     complete copies of the files for thirty-three of the thirty-six works (and

     substantial portions of the remaining three works), but was uploading pieces

     of all the works to other peers.

           Although there is no direct evidence of these files on Defendant’s

     spoliated hard drives, the circumstantial evidence is powerful. It is also

     admissible at trial. To confirm that the Info Hashes listed in Exhibit A to the

     FAC are actual copies of Strike 3’s works, Ms. Stalzer reviewed movie files

     downloaded from those Info Hashes side-by-side with copies of the works

     from its websites. See [DE 11-3] at ¶¶8–10. She averred that they are, if not

     identical, at least substantially similar or strikingly similar. Id. at ¶11. Strike

     3 also produced to Defendant both copies of the video files as downloaded

     from the Info Hash as well as its “control copies”–copies of the works its

     deposits with the Copyright Office. See [DE 138-10]. He has never refuted

     their similarity or attempted to do so. He appears to be pinning his hopes on

     technical objections to evidence that should be eliminated or pre-ruled upon

     at the pre-trial conference.

           E.     Defendant Does Not Provide Credible Testimony or
                  Evidence of His Non-Infringement

           Generally, “credibility determinations are left to the jury.” United

     States v. Archible, No. 21-14172, 2022 WL 16833770, at *2 (11th Cir. Nov.
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     9, 2022) (citing United States v. Flores, 572 F.3d 1254, 1263 (11th Cir.

     2009)). Courts, however, need not credit a witness’s statement where the

     “testimony is unbelievable on its face or incredible as a matter of law, meaning

     it contains facts that the witness could not have possibly observed or events

     that could not have occurred under the laws of nature.” Id. (citation omitted).

     Additionally, “[a] witness’s credibility may be impeached by a prior

     inconsistent statement so long as ‘the statements are indeed inconsistent.’”

     United States v. Frye, 243 F. App'x 575, 576 (11th Cir. 2007) (quoting United

     States v. Hale, 422 U.S. 171, 95 S.Ct. 2133, 2136, 45 L.Ed.2d 99 (1975)).

     “Otherwise irrelevant evidence sometimes may be admissible when used to

     impeach a witness’s testimony.” United States v. Hands, 184 F.3d 1322,

     1327–28 (11th Cir.), corrected, 194 F.3d 1186 (11th Cir. 1999). “A district

     court is free not to credit [witness] testimony, but it can[not] ignore it.” See

     Newman, 959 F.3d at 1310.

           Defendant’s testimony that he did not infringe Strike 3’s works is not

     credible. His proof here has always been that his “search” of his computer

     devices revealed no evidence of the infringing files or BitTorrent client. How

     generous from a Defendant, who wiped his computer prior to the search! He

     also testified that he preserved his computer devices and did not even


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     “partially wipe” them. See [DE 110-1] at 175:15–178:14;180:24–181:8;

     183:4–183:6. He has since admitted that this was untrue. See [DE 125-3] at

     ¶1; [DE 94-8] at ¶¶13–14. This calls into significant question the helpfulness

     of John Doe’s own trial brief, which claims:

           Strike 3 has only one piece of speculative evidence from 2018
           from John Doe’s hard drive. Strike 3 never found any evidence
           of a Bittorrent client or any torrent files on his media. More
           importantly, Strike 3 did not find any of their 36 movies.

     [DE 158] at p. 5.

           This claim alone, given the failure to maintain the devices so that a

     proper search could even be conducted, exposes the total implausibility of

     Defendant’s case. It is not one which the jury will countenance.

           F.     The Opinions of Many of Defendant’s Expert Witnesses Are
                  Unreliable and Predicated on Faulty Methodologies

           At trial, Strike 3 will present its overwhelming direct and circumstantial

     evidence. John Doe’s defense strategy is predicated upon confusing the issues

     for the factfinder. One of the weapons John Doe intends to bring to bear are

     expert witnesses who either do not understand the issues or do not address any

     key facts.

           David Dickson, Joel Brillhart, and Defendant himself are subjects of

     pending Daubert motions, [DE 109]; [DE 111]; [DE 112], and Juan Martinez


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     is the subject of a pending Motion in Limine. [DE 154] at 11–18. The flaws

     in their methodologies and foundation of their opinions are patent.

           Mr. Dickson is proffered as an expert in the entertainment industry but

     has zero experience in adult entertainment and has not reviewed any

     documents detailing the specific parameters of each production in this case

     prior to rendering such opinions. He is not a copyright lawyer. In fact, nothing

     in his report discusses the “originality” of Strike 3’s works in the legal sense.

           Mr. Brillhart admits he is not an expert in Linux, the operating system

     on Defendant’s Laptop, one of the devices he examined. He also screened and

     failed to disclose search results that he deemed not relevant to the case, even

     though they were responsive to keywords in this case, but has failed to explain

     his criteria for “relevance.” This is particularly concerning because he did not

     review the complaints in this matter and has shown that he withheld thousands

     of search results for “torrent.” See [DE 112-2]. It will not make for a

     convincing direct examination by John Doe.

           Mr. Martinez’s report is even more bizarre. He notes that most of his

     analysis was based on assumption he made about the router and its settings

     during the period of infringement. Yet even if these assumptions were sound,

     they are meaningless since he reviewed the manufacturer’s specification and


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     inspected the wrong router. Indeed, Defendant admitted to disposing of the

     router from the relevant time-period, which may have contained information

     about its security configuration. also See [DE 138-7] at ¶¶8–9. Thus, he is

     unable to render an accurate opinion what security settings Defendant’s router

     had during the period of infringement, Defendant’s WiFi’s range, and whether

     it was even accessible to his neighbors.

           Brandon Garcia-Paeth’s conclusion that the “pieces” contained on

     Plaintiff’s PCAPs only contains small portions of the actual file misstates the

     evidence. [DE 127-3] at ¶¶30–32. First, this confirms the accuracy of the

     PCAP as well as its competence to prove both access and factual copying.

     Although Mr. Garcia-Paeth appears to test its ability to prove legal copying,

     he either ignored or failed to examine the BitField values in each PCAP. [DE

     127-3] at ¶31.

           Dr. Kal Toth opinion that “VXN [Scan] reports false positives at a very

     high rate[,]” see [DE 127-3] at ¶18–19, also misstates the evidence. Dr. Toth

     erroneously defines “false positive” as those cases where Plaintiff has

     amended its complaint against a third-party, and not the subscriber to a

     particular IP address. See id. But this does not indicate that VXN Scan’s

     results were false. VXN Scan does not identify the individual; it identifies and


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     records evidence from the network level–i.e. the IP address. See id. at ¶22. Dr.

     Toth’s false equivocation between VXN Scan’s accuracy and whether the

     subscriber is the infringer conflates and confuses two irrelevant events.

     Importantly, Dr. Toth could not show that VXN Scan misfunctioned in this,

     or any other, case.

           Finally, Michael Yasumoto, admitted to only reviewing two of at least

     four of Defendant’s hard drives. He did, however, perform a string search for

     some of the Additional Evidence on Defendant’s withheld ADATA drive, but

     only after discovery concluded. See [DE 125-2]. At an evidentiary hearing,

     Mr. Yasumoto testified that “[s]earch string[s] probably wouldn’t be

     sufficient” to examine a hard drive for infringement because it would be

     impracticable “to determine when . . . deletion occurred or when reinstallation

     occurred.” See Hr. Tr. 72:1–14. And, during his deposition, Mr. Yasumoto

     conceded he would have performed his examination of the hard drives

     differently than he did in his report, as the search was too limited.

           G.     Plaintiff’s Experts Are Qualified and Their Opinions Are
                  Reliable and Undisputed

           Strike 3’s expert witnesses, by contrast, have tendered reports and

     opinions that not only surpass Daubert, but competently support Plaintiff’s

     claim for infringement. They will be excellent witnesses at trial.
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           Mr. Williamson is an Information Systems and Management

     Consultant who is am employed as independent contractor by Plaintiff. [DE

     127-2] at ¶11. He oversaw the design, development, and overall creation of

     VXN Scan which Strike 3 used to identify the IP at issue in this case. Id. at

     ¶40. Mr. Williamson knows how the VXN Scan functions, records, stores, and

     preserves PCAPs and has testified to such in two separate depositions in this

     matter. Defendant has not rebutted any of Mr. Williamson’s statements or

     opinions about how VXN Scan functions, its reliability, the soundness of its

     evidence, or the significance of that evidence.

           Plaintiff’s second expert witness, Mr. Paige is a computer forensics

     expert with over twenty years of computer forensic experience which includes

     investigations into computer related crimes, crimes committed using peer-to-

     peer file sharing software, and executing search warrants on homes identified

     as being assigned particular IP addresses engages in criminal activity. See [DE

     127-5]. Mr. Paige designed and executed a test to determine the accuracy of

     VXN Scan. The test confirmed that it successfully and accurately identifies

     IP addresses used to engage in BitTorrent activity. Id. at ¶¶32–60. Although

     this test is replicable, none of Defendant’s experts have conducted a similar

     examination of the VXN Scan system. None have provided any alternative


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     explanation for Mr. Paige’s results. And none have disputed Mr. Paige’s

     conclusions that Defendant spoliated two of his hard drives.

           H.     Defendant Has Not Carried His Burden of Persuasion on
                  Any of His Affirmative Defenses

                  1.    Summary

           Both parties have raised various affirmative defenses in response to the

     other’s claim. As of the time of this brief, none of the affirmative defenses

     have been withdrawn or disposed of on summary judgment. In response to

     Strike 3’s claim for copyright infringement, Defendant has alleged defenses

     of waiver, implied license, unclean hands, estoppel, mitigation of damages,

     innocent infringement, and copyright misuse. [DE 23]. There is no evidence

     to support any of these defenses.

                  2.    Plaintiff has Not Waived its Copyrights

           “[W]aiver or abandonment of copyright occurs only if there is an intent

     by the copyright proprietor to surrender rights in his work.” Weaver, 2016 WL

     1394331 at *8 (quoting Malibu Media, LLC v. Zumbo, No. 13-729

     (JES)(DNF), 2014 WL 2742830, at *2 (M.D. Fla. June 17, 2014) (citation and

     internal quotation marks omitted)). There is simply no evidence of this. Suing

     to enforce its copyrights would suggest the opposite.



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            The theory Defendant proffers is even more farfetched. He alleges that,

     “[o]n information and belief, Plaintiff, either directly, or through its agent,

     directed or allowed its videos to be ‘seeded’ to the Internet via torrent sites.

     Defendant either impliedly or expressly had permission to download its

     copyrighted Works.” See [DE 23], at 6–7. This has never happened here or in

     any of Strike 3’s cases.9 Defendant has been afforded months of discovery,

     including deposing Strike 3’s experts and corporate representative, and has

     presented zero evidence to support this allegation. The reason for the lack of

     evidence is simple: there is none. There are no exhibits or witnesses disclosed

     by John Doe who would help him on this.

                  3.     Defendant Was Never Authorized in Any Manner to
                         Download or Distribute Strike 3’s Works

            “An implied license is created when one party (1) creates a work at

     another person’s request; (2) delivers the work to that person; and (3) intends

     that the person copy and distribute the work.” Weaver, No. 2016 WL 1394331

     at *8 (quoting Latimer v. Roaring Toyz, Inc., 601 F.3d 1224, 1235 (11th Cir.

     2010)). There is no evidence that Defendant of any of this, let alone any



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           Mr. Williamson has also explained that VXN Scan is designed so that it
     is “incapable of distributing the infringing computer files.” E.g., [DE 11-1] at
     ¶55 (emphasis original).
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     meeting-of-the-minds between the parties. Defendant admits that the parties

     were strangers to one another until after Strike issued its subpoena. See [DE

     89-1] at 94:4–94:17. The parties have never stood in any form of contractual

     privity–express, implied, or otherwise. There are no witnesses or exhibits

     listed who would assist John Doe on this.

                  4.     Plaintiff Has Not Come to This Litigation With
                         Unclean Hands

           “To prevail on the defense of unclean hands, Defendant[ ] must

     demonstrate that: (1) Plaintiff’s alleged wrongdoing is directly related to the

     claim against which it is asserted; and (2) Defendant[ ] [was] personally

     injured by Plaintiff's conduct.” Weaver, 2016 WL 1394331 at *9 (citation

     omitted). This defense also relies on, and thus fails as a result of, Defendant’s

     spurious theory that Strike 3 uploaded its works to the BitTorrent network.

     Again, Defendant “has presented no evidence in support of this affirmative

     defense and, therefore, has failed to carry his burden.” Id. John Doe has listed

     no witnesses or exhibits that would help him make this claim.

                  5.     Plaintiff Is Not Estopped from Protecting Its
                         Copyrights

           “The gravamen of estoppel . . . is misleading and consequent loss[.]”

     Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 684, 134 S. Ct. 1962,


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     1977, 188 L. Ed. 2d 979 (2014). It requires, among other elements, that “the

     defendant must be ignorant of the true facts” and that “he must rely on the

     plaintiff's conduct to his injury.” Thompson v. Looney’s Tavern Prods., Inc.,

     204 F. App'x 844, 850 (11th Cir. 2006) (citation omitted).

           This defense can also not be maintained. First, the defense relies on

     Defendant’s allegation that Strike 3 “seeded” its works to Defendant. See [DE

     23] at 7. There is no evidence of this because it never happened. Second, even

     if Plaintiff had seeded its works to Defendant, that would still require

     Defendant to show that Strike 3 authorized Defendant to download and upload

     its works to others in the BitTorrent network. Cf. Malibu Media, LLC v. Doe,

     381 F. Supp. 3d 343, 358 (M.D. Pa. 2018) (“John Doe has not shown that

     Malibu was aware of and acquiesced in his conduct, or in the infringing

     conduct of other BitTorrent users.”). Defendant would also have to show that

     he reasonably relied on Strike 3’s apparent authorization. Cf. id. There is no

     evidence to support any of this. There are no witnesses or exhibits that have

     been disclosed that would assist John Doe on this defense.

                  6.     Plaintiff Has Not Failed to Mitigate its Damages

           A failure to mitigate damages defenses arises, as Defendant notes, when

     a party has a “duty to mitigate its damages and . . . fail[s] to do so.” [DE 23]


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     at 7. But Defendant has alleged no such “duty” or breach of that duty. This

     defense “is generally inappropriate when a party seeks only statutory, as

     opposed to actual, damages.” Weaver, 2016 WL 1394331 at *7 (citation

     omitted); Energy Intel. Grp., Inc. v. Kayne Anderson Cap. Advisors, L.P., 948

     F.3d 261, 275 (5th Cir. 2020) (“Where plaintiff seeks only statutory damages,

     such a defense is meritless and should be struck since there is no requirement

     that statutory damages be pegged to actual damages.”) (quoting 6 Patry on

     Copyright § 22:192.25).

           Statutory damages are committed to the Court’s discretion, see 17

     U.S.C. § 504(c), which can adjust the award to what it finds appropriate under

     the circumstances of the case. While Plaintiff can petition the Court for these

     damages, it cannot control them. Consequently, no obligation has inured on

     Strike 3, leaving no “duty” for it to breach. The defense is inapt. Whatever the

     case, John Doe has failed to disclose any witnesses or exhibits that would

     assist him on this defense.

                  7.     Defendant Is Not An Innocent Infringer

           “[I]nnocent infringement of a copyright is not an affirmative defense to

     an infringement action.” Pk Studios, Inc. v. R.L.R. Invs., LLC, No. 15- 389-

     FTM-99CM, 2016 WL 4529323, at *4 (M.D. Fla. Aug. 30, 2016) (collecting


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     cases). “The innocent infringer defense gives the district court discretion to

     reduce the minimum statutory damages from $750 to $200 per infringed work

     if it finds that the infringer ‘was not aware and had no reason to believe that

     his or her acts constituted an infringement of copyright.’” Maverick Recording

     Co. v. Harper, 598 F.3d 193, 198 (5th Cir. 2010) (citing 17 U.S.C. §

     504(c)(2)). Yet Defendant has denied all infringement. See [DE 23], at ¶¶55–

     61. He cannot now claim that if he infringed, that infringement was

     “innocent.”

           Moreover, as is the case with statutory damages generally, whether the

     maximum amount recoverable per work is reduced is committed to the

     Court’s “discretion.” See 17 U.S.C. § 504(c)(2). The parties may argue over

     appropriateness and degree of these damages, but that does not erase

     Defendant’s liability.

                   8.    Plaintiff Has Not Misused Its Copyrights in This or
                         Any Litigation

           “The doctrine of copyright misuse ‘bar[s] recovery for a copyright

     owner who attempts to extend its limited copyright rights to property not

     covered by the copyright.’” [DE 149] at 16 (citation omitted). Defendant’s

     sole basis to this defense is predicated on a deliberate misreading of the record.

     He alleges that Strike 3 brought “a copyright case in state court,” [DE 137] at
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     32, and that Plantiff “use[d] . . . the Florida State Court as preliminary process

     to attempt to acquire federally protected subscriber information[.]” [DE 23] at

     7.

           First, as is clear from the papers themselves, Strike 3 did not bring a

     suit for copyright infringement in state court; it requested a pure bill of

     discovery. See [DE 114-3]. A pure bill of discovery is “a mechanism to obtain

     the disclosure of facts . . . in aid of the prosecution of an action pending or

     about to be commenced in some other court.” [DE 139] at 2. It is an equitable

     and procedural remedy. It does not adjudicate substantive law like copyright.

     The state court did not analyze–and was not asked to rule on–copyright

     infringement. Rather, the limited motion was to seek authorization to serve a

     subpoena on Defendant’s ISP, which the state court permitted.

           Second, it is of no moment what source of law protects Defendant’s

     subscriber information. State courts issue orders touching on federal protected

     rights all the time, including those by the Constitution and those by the

     relevant Cable Communications Policy Act of 1984, 47 U.S.C. § 551 et seq.

     Cf. SC Holdings, Inc. v. Redisi, 309 F.3d 988, 996 (7th Cir. 2002) (“There is

     no privilege or restriction on releasing customer records to a nongovernmental




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     entity pursuant to a court order.”). It is, thus, no abuse to petition the state for

     an Internet subscriber’s identity.

            Third, a pure bill of discovery does not extend the reach of the

     copyrights’ monopoly because the Copyright Act simply affords a series of

     “exclusive rights” to “the owner[s] of copyright” in expressive “works of

     authorship.” See 17 U.S.C. §§ 102(a), 301(b)(3) (“Nothing in [the Copyright

     Act] annuls or limits any rights or remedies under the common law or statutes

     of any State with respect to . . . subject matter that does not come within the

     subject matter of copyright as specified by sections 102 and 103[.]”). By

     contrast, the pure bill of discovery sought just two points of information:

     Defendant’s name and address. “[T]hese bits of information are

     uncopyrightable facts[.]” See Feist Publications, Inc. v. Rural Tel. Serv. Co.,

     499 U.S. 340, 111 S. Ct. 1282, 1296, 113 L. Ed. 2d 358 (1991). Defendant’s

     attempt to recharacterize basic discovery as a radical expansion of copyright

     law is baseless.

            Finally, Defendant has not “submitted evidence from which a trier of

     fact might find that [Plaintiff]’s lawsuit is anything other than a ‘good faith

     attempt to enforce a copyright,’ conduct which ‘does not violate the antitrust

     laws.’” Cf. Malibu Media, 381 F. Supp. 3d at 359 (citation omitted) (granting


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     summary judgment against copyright misuse). It is simply wrong as a matter

     of law to maintain that a pure bill of discovery touches on the same subject

     matter as copyright or improperly expands any of the exclusive rights vested

     in a copyright.

           I.     Strike 3’s Affirmative Defenses Stand

                  1.     Overview

           In response to Defendant’s counterclaim for declaratory relief, Strike 3

     has raised defenses for lack of standing/no subject matter jurisdiction, failure

     to state a claim, unclean hands, failure to mitigate damages, and abuse of

     process. [DE 24].

                  2.     Defendant Lacks Standing to Support His
                         Counterclaim and Has Thus Failed to State a Claim
                         and Deprived the Court of Subject Matter Jurisdiction
                         Over It

           The parties stipulate that “[a] claim for declaratory relief must be

     supported by standing, including an Article III injury-in-fact. [DE 149] at 15

     (citing Town of Chester, N.Y. v. Laroe Ests., Inc., 137 S. Ct. 1645, 1650, 198

     L. Ed. 2d 64 (2017) (collecting cases); California v. Texas, 141 S. Ct. 2104,

     2115, 210 L. Ed. 2d 230 (2021) (citing MedImmune, Inc. v. Genentech, Inc.,

     549 U.S. 118, 126–127, 127 S.Ct. 764, 166 L.Ed.2d 604 (2007)). Standing is

     also baked into the Declaratory Judgment Act, which requires the claimant
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     present a “a case of actual controversy[.]” See 28 U.S.C. § 2201(a). The Act

     is further limited to declarations regarding “the rights and other legal relations

     of any interested party[.]” See id. Thus, standing and subject matter

     jurisdiction is inextricably tied up with the validity of a claim for declaratory

     relief.

               Defendant has failed to state an injury-in-fact, let alone support it. His

     basis to declaratory relief is that he “has incurred costs, fees, and expenses in

     connection with its Defense.” [DE 23] at ¶6. Yet he has steadfastly refused to

     answer questions about his fee payments. See [DE 53-3]. Even if he had,

     precedent is clear that an interest in attorneys’ fees is not an Article III injury-

     in-fact. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107–08, 118 S.

     Ct. 1003, 1019, 140 L. Ed. 2d 210 (1998). Nor has Defendant alleged any

     form of right or legal relationship to which the Declaratory Judgment Act

     appertains. See [DE 114] at n.5. “No concrete harm,” and no cognizable claim,

     then “no standing” and no jurisdiction. See TransUnion LLC v. Ramirez, 210

     L. Ed. 2d 568, 141 S. Ct. 2190, 2214 (2021); see also Strike 3 Holdings, LLC

     v. Doe, No. 21-83 (GJH), 2022 WL 1289667, at *3 (D. Md. Apr. 29, 2022).

                     3.     Defendant Has Unclean Hands and Failed to Mitigate
                            His Damages



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           The parties have further stipulated that “[a]n unclean hands defense

     requires that “(1) [Defendant]’s alleged wrongdoing is directly related to the

     claim against which it is asserted; and (2) [Plaintiff was] personally injured

     by [Defendant]’s conduct.” [DE 149] at 16 (quoting Thornton v. J Jargon Co.,

     580 F. Supp. 2d 1261, 1283 (M.D. Fla. 2008)). Here, even if Defendant were

     not the infringer (which he is), his iniquitous conduct bars recovery.

           Defendant dragged out litigation in the hopes that Strike 3 would settle

     or dismiss its claim, allowing him to move for fees and, in turn, profit. His

     discovery abuses have tacked on thousands of dollars in expenses of

     requesting, reviewing, re-reviewing Defendant’s materials which were

     produced in a bad faith attempt to frustrate Plaintiff and prevent it from

     learning about the despoliation of evidence. Thus, Defendant has also failed

     to mitigate damages by ignoring his duties of candor and to act in good faith

     in discovery.

                  4.     Defendant Abused Process By Filing A Counterclaim
                         to Gain a Meritless Tactical Advantage

           Finally, the parties have stipulated that “[a]n abuse of process requires:

     “(1) that the defendant made an illegal, improper, or perverted use of process;

     (2) that the defendant had ulterior motives or purposes in exercising such

     illegal, improper, or perverted use of process; and (3) that, as a result of such
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     action on the part of the defendant, the plaintiff suffered damage.” [DE 149]

     at 15 (quoting Duncanson v. SJ Wathen Bloomington LLC, No. 14-704-ORL-

     40KRS, 2016 WL 7228743, at *2 (M.D. Fla. June 24, 2016)). Here, the abuse

     is Defendant’s filing of a counterclaim for declaratory relief.

           Obviously, a defendant may deny their liability in an Answer, raise

     avoidances and defenses, and plead counterclaims if appropriate. See Fed. R.

     Civ. P. 11(b). Defendant’s counterclaim, however, was not filed to litigate a

     meritorious claim, but rather, to trap Strike 3 in a case where Defendant had,

     by the time that counterclaim was filed, despoiled his Laptop and Desktop

     devices.

           The procedure here is complex. Filing an Answer alone is enough to

     prevent Strike 3 from unilaterally dismissing its claim. See Fed. R. Civ. P.

     41(a)(1)(A)(i). The counterclaim adds nothing there under the Federal Rules.

     Thus, after an answer is filed, Plaintiff is left with the following options: if it

     wants to dismiss, (1) seek a stipulated dismissal with Defendant (i.e. settle),

     id. 41(a)(1)(A)(ii), (2) move for a court order dismissing the claim and/or

     counterclaim, id. 41(a)(2), or, if it does not want to dismiss, (3) litigate.

           The first option did would not work. A stipulated dismissal requires

     Defendant’s approval, and separate mediation and settlement conferences


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     have not resolved the matter. See [DE 35]; [DE 153]. Thus far, there has been

     no mutual agreement to terminate the litigation.

           Moreover, the second option–a dismissal via order of the Court–is

     foreclosed as a result of the counterclaim itself. First, that provision is

     unavailable when “a defendant has pleaded a counterclaim before being

     served with the plaintiff's motion to dismiss” since “the action may be

     dismissed over the defendant's objection only if the counterclaim can remain

     pending for independent adjudication.” Fed. R. Civ. P. 41(a)(2) (emphasis

     added). Defendant’s counterclaim, which is inextricably tied up with

     Plaintiff’s claim, would lose its only arguable claim to standing, and thus

     could not be independently adjudicated.

           Second, and more critically, even if Strike 3 were to dismiss its claim,

     that would not dispose of Defendant’s counterclaim, which is a mirror-image

     of Strike 3’s claim. See Malibu Media, LLC v. Redacted, 705 F. App'x 402,

     406 (6th Cir. 2017). Thus, Strike 3 is still stuck either proving its claim (now

     in a defensive posture to Defendant’s counterclaim), or subject to Defendant’s

     caprices for a settlement. See Fed. R. Civ. P. 41(a)(1)(A)(ii). The counterclaim

     is designed to box Plaintiff into to a situation where, no matter how much




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     discovery misconduct had taken place, it would be forced litigate or forced to

     settle.

               This is a “perverted use” of the pleadings. And Defendant’s ulterior

     motive–to coerce an unreasonable settlement–is not only evidenced by his

     discovery abuses, but by his unethical fee agreements with Mr. French and

     Mr. Edmondson. Those agreements created a moral hazard that prolonged a

     litigation in which Defendant destroyed critical evidence before he even filed

     his counterclaim. Even if Defendant were held to be the prevailing party,

     equity would demand that he not profit from his malfeasances.

               J.    Defendant’s Willful Infringement Warrants Significant
                     Statutory Damages

               The Copyright Act affords rightsholder both legal and equitable

     remedies. 17 U.S.C. § 501 et seq. With respect to legal damages, the Act

     permits the rightsholder to recover either statutory or actual damages.

     Id. § 504(a)(1)–(2). Strike 3 has consistently, and since the beginning of this

     litigation, elected to recover statutory damages. See [DE 1] at ¶47, [DE 17] at

     ¶46, [DE 149] at 14 ¶4 (stipulating to recovering statutory damages).

     Generally, statutory damages run from $750 to $30,000 per work infringed.

     17 U.S.C. §504(c)(1).



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            However, if Defendant’s infringement was “committed willfully,” the

     range of statutory damages increases from $750 to $150,000 per work

     infringed. Id. §504(c)(2). “Willful” is a misnomer. The Eleventh Circuit has

     held that it not only “means that the defendant ‘knows his actions constitute

     an infringement [and that] the actions need not have been malicious,’” but that

     “willfulness” also “encompasses reckless disregard of the possibility that

     one’s actions are infringing a copyright.” Yellow Pages Photos, Inc. v.

     Ziplocal, LP, 795 F.3d 1255, 1271–72 (11th Cir. 2015) (citations omitted).

            On top of denying infringement outright, Defendant has also claimed

     that he is an “innocent infringer.” Those would mean that the Court, in its

     discretion, could remit statutory damages to as low as $200 per work. See 17

     U.S.C. § 504(c)(2). But “the infringer sustains the burden of proving . . . that

     such infringer was not aware of and had no reason to believe that his or her

     acts constituted an infringement of copyright.” Id. (emphasis added).

     Defendant, however, avers that no infringement has taken place. He cannot

     avail himself to these lower damages now that the evidence is stacked against

     him.

            K.    Strike 3 is Further Entitled to Equitable Relief




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           The Copyright Act also permits equitable relief, including enjoining

     further infringement of the copyrights, 17 U.S.C. § 502(a), and ordering the

     “destruction or other reasonable disposition of all copies . . . found to have

     been made or used in violation of the copyright owner’s exclusive rights[.]”

     Id. § 503(b).

           Courts routinely find that permanent injunctions barring infringers from

     further downloading and uploading Plaintiff’s works are appropriate. See,

     e.g., Strike 3 Holdings, LLC v. Doe, No. 18-5305 (DRH)(SIL), 2020 WL

     6875260, at *5 (E.D.N.Y. Nov. 12, 2020), report and recommendation

     adopted, No. 18-5305 (DRH)(SIL), 2021 WL 21532 (E.D.N.Y. Jan. 4, 2021).

     Courts also routinely grant Plaintiff’s request “that the court require defendant

     to delete and permanently remove the digital media files and copies relating

     to plaintiff's copyrighted works from each computer and device under

     defendant's possession, custody, or control.” See, e.g., Strike 3 Holdings, LLC

     v. Rollins, No. 20-0954 (AJT)(JFA), 2021 WL 5872073, at *5 (E.D. Va. Nov.

     19, 2021), report and recommendation adopted, No. 20-954 (AJT)(JFA),

     2021 WL 5865735 (E.D. Va. Dec. 9, 2021).

           This case is somewhat unique as Defendant has already “destroyed”

     data on some of his hard drives. Supra. Regardless, at no point has Defendant


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     suggested that, if he were found liable, he should be able to continue

     downloading and uploading Strike 3’s movies over BitTorrent, or that he

     should be able to keep copies of the infringed works. A permanent injunction

     would prevent further uploads of Strike 3’s works to other peers in the

     network. Additionally, an order for Defendant to destroy unauthorized copies

     would not only prevent him from enjoying the fruits of infringing conduct,

     but would aid in preventing him from uploading them to others.

     V.    CONCLUSION

           Before trial, the Court has an opportunity to substantially narrow the

     range of disputed issues by granting Strike 3’s motion for summary judgment

     [DE 114] in whole or in part. It lays out much of the evidence described in

     this brief, and which would be brought to bear at trial. Even if the relief

     granted was as minor as eliminating John Doe’s affirmative defenses, this will

     aid the fact-finder by eliminating totally unnecessary work by the parties and

     fact-finder later on.

           Additionally, the Court has a major opportunity to facilitate the path of

     trial by overruling John Doe’s exhibits to evidence for trial. John Doe has

     offered several objections, most notably to the infringed works and their

     copies, that will groundlessly inhibit their introduction and possibly force


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     them to be published. In the trial’s Third Amended Case Management Order

     [DE 86], the Court reflected party expectations that a trial will last 3 days.

     That is an outdated view according to Strike 3. There is no conceivable

     situation, short of granting Strike 3’s motion for summary judgment [DE 114]

     that will so shorten the likely trial. It would be five days under a best case

     scenario. Compelling Strike 3 to publish all of the videos, infringing versions

     and not, will extend the trial by a week.

           This is especially absurd because Strike 3 provided Defendant with the

     official deposit copies of its motion pictures submitted to the United States

     Copyright Office with its registration (with the applicable title on the file) and

     the infringing copy, identified by an unalterable hash. Each of these movies,

     as demonstrated by Ms. Stalzer’s declaration, are either identical or

     substantially similar. John Doe’s counsel knows this all too well, but refuses

     to concede it for some reason. They are not recreations with some overlapping

     expressive content: they are carbon copies of the original work. Any adult can

     look at Plaintiff’s motion picture and the corresponding infringing copy and

     determine they are identical. Defendant has had months and a multitude of

     experts to review these files and has not demonstrated that one copy of the

     movie does not match the other.


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              Because there are 36 movies at issue, averaging 45 minutes each, this

     would cause the Court and parties approximately an additional 27 hours of

     trial time.10 There is absolutely no need to add these extra days to trial when

     Defendant can stipulate and has no evidence of any actual factual dispute

     between the infringing copy and Plaintiff’s motion picture. This appears to be

     one facet of a potential violation of 28 U.S.C. §1927.

              Finally, unfortunately, the parties have continued to argue about the

     verdict form after its submission. While the undersigned is optimistic that the

     parties will be able to resolve this matter, he would be more optimistic if the

     Court held a status hearing to discuss the issues.

              In the end, regardless of the foregoing, Strike 3 is ready for trial and it

     looks forward to vindicating itself in front of a jury.



     Dated: December 20, 2022                             Respectfully submitted,

                                                          /s/ Christian W. Waugh
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            Plaintiff estimates that the average length of time of each movie is 45 minutes. Multiplying that by
     36, and then again by 2 (to factor in the infringing copy

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                                          Counsel for Plaintiff



                          CERTIFICATE OF SERVICE

           I hereby certify that on December 20, 2022, a true and correct copy of

     the following documents was served on Defendant’s counsel by email via

     CM/ECF.

                                          /s/ Christian W. Waugh




                                         66
